              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :
                                        :
            v.                          :    NO. 3:19-CR-9
                                        :
BRUCE EVANS SR. and                     :    JUDGE A. RICHARD CAPUTO
BRUCE EVANS JR.                         :
                                        :    ELECTRONICALLY FILED

      _________________________________________________________

      DEFENDANTS BRUCE EVANS SR. AND BRUCE EVANS JR.’S
               REQUEST FOR EXPERT INFORMATION
               PURSUANT TO RULE 16(a)(1)(F) AND (G)
        OF THE FEDERAL RULES OF CRIMINAL PROCEDURE
      _________________________________________________________


      Pursuant to Federal Rules of Criminal Procedure 16(a)(1)(F) and (G),

Defendants Bruce Evans Sr. and Bruce Evans Jr., hereby respectfully request from

the Government a written summary of the testimony which it intends to use in its

case-in-chief at trial under Rules 702, 703 or 705 of the Federal Rules of Evidence.

The summary provided pursuant to this request shall describe witnesses’ opinions,

the basis and reasons for those opinions, and the witnesses’ qualifications. The

Government must permit Defendants to copy the results and reports of any
examination or scientific test or experiment. The Government must provide the

qualifications of any expert.


                                           Respectfully submitted,


                                           /s/ Patrick A. Casey
Myers, Brier & Kelly, LLP                  Patrick A. Casey
425 Spruce Street, Suite 200               Attorney for Defendant,
Scranton, PA 18503                         Bruce Evans, Sr.
(570) 342-6100

                                           /s/ Walter F. Casper
35 S. Church Street                        Walter F. Casper
P.O. Box 513                               Attorney for Defendant,
Carbondale, PA 18407                       Bruce Evans, Jr.


Date: October 2, 2019
                         CERTIFICATE OF SERVICE

      I, Patrick A. Casey, hereby certify that a true and correct copy of the

foregoing Request for Expert Information Pursuant to Fed. R. Crim. P. 16(a)(1)(F)

and (G) was served upon the following counsel of record via the Court’s ECF

system on this 2nd day of October, 2019:


                           Michelle L. Olshefski, Esquire
                           U.S. Attorney’s Office
                           P.O. Box 309
                           235 North Washington Avenue
                           Scranton, PA 18501

                           Walter F. Casper, Jr., Esquire
                           P.O. Box 513
                           35 S. Church Street
                           Carbondale, PA 18407



                                                    /s/ Patrick A. Casey
